Case 3:19-bk-30972        Doc 12    Filed 05/02/19 Entered 05/02/19 09:45:16           Desc Main
                                    Document     Page 1 of 6


                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

In re:                                         :
                                               :
     Todd F Wollenhaupt                        :      Case No.: 19-30972
                                               :      Chapter 7
         Debtor(s).                            :      Judge Beth A. Buchanan
                                               :      ***********************
                                               :
                                               :

     MOTION OF NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER FOR RELIEF
     FROM STAY ON FIRST MORTGAGE FOR REAL PROPERTY LOCATED AT 8416
                   MCEWEN ROAD, CENTERVILLE, OH 45458

         Nationstar Mortgage LLC d/b/a Mr. Cooper (the "Creditor") moves this Court, under §§

361, 362, 363 and other sections of the Bankruptcy Reform Act of 1978, as amended (the

"Bankruptcy Code") and under Rules 4001 and other rules of the Federal Rules of Bankruptcy

Procedure (the "Bankruptcy Rules") for an Order conditioning, modifying or dissolving the

automatic stay imposed by § 362 of the Bankruptcy Code. In support of this Motion, the

Creditor states:


                                MEMORANDUM IN SUPPORT

1.       The Court has jurisdiction over this matter under 28 U.S.C. § 157 and 1334. This is a

         core proceeding under 28 U.S.C. § 157(b)(2). The venue of this case and this Motion is

         proper under 28 U.S.C. §§ 1408 and 1409.

2.       On July 9, 2009, Todd F Wollenhaupt (''Debtor'') obtained a loan from Union Savings

         Bank, A Corporation in the amount of $78,856.00. Such loan was evidenced by a

         Promissory Note dated July 9, 2009 (the "Note"), a copy of which is attached as Exhibit

         A.


19-012835_BEW1
Case 3:19-bk-30972      Doc 12    Filed 05/02/19 Entered 05/02/19 09:45:16              Desc Main
                                  Document     Page 2 of 6


3.    To secure payment of the Note and performance of the other terms contained in it, the

      Debtor and Denise Lynn Wollenhaupt executed an Open-End Mortgage dated July 9,

      2009 (the "Mortgage"). The Mortgage granted a lien on the property owned by Debtor,

      located at 8416 McEwen Road, Centerville, OH 45458 (the "Property") and more fully

      described in the Mortgage. Todd F. Wollenhaupt and Denise L. Wollenhaupt husband

      and wife, for their joint lives, remainder to the survivor of them, Grantees acquired title to

      the Property by virtue of a deed from Todd F. Wollenhaupt married, Grantor, of the

      County of Montgomery, State of Ohio, dated August 28, 2013, filed September 5, 2013,

      recorded at Official Instrument Number 2013-00062571, Recorder's Office, Montgomery

      County, OH. A copy of said Deed is attached as Exhibit B.

4.    The lien created by the Mortgage was duly perfected by the filing of the Mortgage in the

      office of the Montgomery County Recorder on July 22, 2009. A copy of the Mortgage is

      attached as Exhibit C. The lien is the first lien on the Property.

5.    The Note was transferred as follows:

      a.     from Union Savings Bank to Franklin American Mortgage Company. The
             transfer is evidenced by the allonge attached to this Motion as Exhibit A.

      b.     from Franklin American Mortgage Company to Bank of America, N.A.. The
             transfer is evidenced by the indorsement attached to this Motion as Exhibit A.

      c.     from Bank of America, N.A. to ____________________. The transfer is
             evidenced by the indorsement attached to this Motion as Exhibit A. Because the
             endorsement is in blank and Creditor is in possession of the original Note,
             Creditor is entitled to enforce the instrument.

6.    The Mortgage was transferred as follows:

      a.     from Mortgage Electronic Registration Systems, Inc., as Nominee for Union
             Savings Bank, A Corporation, its successors and assigns to Nationstar Mortgage
             LLC D/B/A Mr. Cooper, dated December 1, 2017. The transfer is evidenced by
             the document attached to this Motion as Exhibit D.



19-012835_BEW1
Case 3:19-bk-30972     Doc 12     Filed 05/02/19 Entered 05/02/19 09:45:16            Desc Main
                                  Document     Page 3 of 6


7.    Attached are redacted copies of any documents that support the claim, such as promissory

      notes, purchase order, invoices, itemized statements of running accounts, contracts,

      judgments, mortgages, and security agreements in support of right to seek a lift of the

      automatic stay and foreclose if necessary.

8.    The value of the Property is $73,820.00. This valuation is based on the 2018

      Montgomery County Auditor's tax record which is attached as Exhibit E.

9.    As of April 1, 2019, there is currently due and owing on the Note the principal balance of

      $67,155.76, plus interest accruing thereon at the rate of 5.5% per annum from September

      1, 2017.

10.   Other parties known to have an interest in the Property are as follows:

      a.     the Montgomery County Treasurer, in an unknown amount;

      b.     Denise L. Wollenhaupt;

      c.     Fox Ridge Villas Homeowners' Association is believed to be the holder of a
             judgment lien on the Property with an approximate payoff of $2,240.00 per
             Debtor's Schedule D.

      Attached as Exhibit F is Debtor's Schedule D.

11.   The balance on Creditor’s first mortgage exceeds the value of the Property. Based upon

      the lack of equity in the Property, Creditor asserts that the Property is burdensome and/or

      of inconsequential value and benefit to the estate.

12.   The Creditor is entitled to relief from the automatic stay under 11 U.S.C. § 362(d)(1)

      and/or 362(d)(2) for these reason(s):

      a.     Debtor has failed to provide adequate protection for the lien held by the Creditor
             for the reasons set forth below.




19-012835_BEW1
Case 3:19-bk-30972       Doc 12    Filed 05/02/19 Entered 05/02/19 09:45:16              Desc Main
                                   Document     Page 4 of 6


       b.      Debtor has failed to make periodic payments or had made partial payments to
               Creditor for the months of October 1, 2017 through April 1, 2019 which unpaid
               payments less any funds being held in suspense are in the aggregate amount of
               $11,467.95 through April 1, 2019. The total provided in this paragraph cannot be
               relied upon as a reinstatement quotation.

       c.      Debtor intends to surrender the Property located at 8416 McEwen Road,
               Centerville, OH 45458 according to the Statement of Intent filed.

13.    Creditor has completed the worksheet attached as Exhibit G.

14.    This Motion does not seek to affect the rights of the Chapter 7 Trustee.

       WHEREFORE, Creditor prays for an Order from the Court granting Creditor relief from

the automatic stay of 11 U.S.C. § 362 of the Bankruptcy Code to permit Creditor to proceed

under law and for such other and further relief to which the Creditor may be entitled.

                                                     Respectfully submitted,

                                                        /s/ Adam B. Hall
                                                     Adam B. Hall (0088234)
                                                     Edward H. Cahill (0088985)
                                                     John R. Cummins (0036811)
                                                     Stephen R. Franks (0075345)
                                                     Manley Deas Kochalski LLC
                                                     P.O. Box 165028
                                                     Columbus, OH 43216-5028
                                                     Telephone: 614-220-5611
                                                     Fax: 614-627-8181
                                                     Attorneys for Creditor
                                                     The case attorney for this file is Adam B.
                                                     Hall.
                                                     Contact email is abh@manleydeas.com




19-012835_BEW1
Case 3:19-bk-30972       Doc 12    Filed 05/02/19 Entered 05/02/19 09:45:16            Desc Main
                                   Document     Page 5 of 6



                                    NOTICE OF MOTION

Nationstar Mortgage LLC d/b/a Mr. Cooper has filed papers with the court to obtain relief from
stay.

Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you do not want the court to grant the relief sought in the motion, then on or before twenty-
one (21) days from the date set forth in the certificate of service for the motion, you must
file with the court a response explaining your position by mailing your response by regular U.S.
Mail to:

                          Clerk of the United States Bankruptcy Court
                                        Old Post Office
                                     120 West Third Street
                                       Dayton, OH 45402

OR your attorney must file a response using the court's ECF system.

The court must receive your response on or before the above date.

You must also send a copy of your response either by 1) the court's ECF System or by 2) regular
U.S. Mail to:

   Manley Deas Kochalski LLC, Attention: Adam B. Hall, P.O. Box 165028 Columbus, OH
   43216-5028

   Office of U.S. Trustee, Southern District of Ohio, Party of Interest, 170 North High Street,
   #200, Columbus, OH 43215

   Paul H. Spaeth, 7925 Paragon Road, Suite 101, Dayton, OH 45459
   spaethlaw@phslaw.com

   Russ B Cope, Attorney for Todd F Wollenhaupt, Cope Law Offices, LLC, 6826 Loop Road,
   Dayton, OH 45459
   ecf@copelawoffices.com

   Todd F Wollenhaupt, 8416 McEwen Rd, Dayton, OH 45458

   Denise L. Wollenhaupt, 7337 Reims Dr, Apt A, Dayton, OH 45459

   Montgomery County Treasurer, 451 W. Third Street , P.O. Box 972 , Dayton , OH 45422



19-012835_BEW1
Case 3:19-bk-30972       Doc 12     Filed 05/02/19 Entered 05/02/19 09:45:16            Desc Main
                                    Document     Page 6 of 6


If you or your attorney do not take these steps, the court may decide that you do not oppose the
relief sought in the motion and may enter an order granting that relief without further hearing or
notice.
                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion for Relief from Stay on First

Mortgage for Real Property Located at 8416 McEwen Road, Centerville, OH 45458 was served

electronically on the date of filing through the court's ECF System on all ECF participants

registered in this case at the email address registered with the court:

   Office of U.S. Trustee, Southern District of Ohio, Party of Interest, 170 North High Street,
   #200, Columbus, OH 43215

   Paul H. Spaeth, 7925 Paragon Road, Suite 101, Dayton, OH 45459, spaethlaw@phslaw.com

   Russ B Cope, Attorney for Todd F Wollenhaupt, Cope Law Offices, LLC, 6826 Loop Road,
   Dayton, OH 45459, ecf@copelawoffices.com

and by ordinary U.S. mail on May ___,
                                  2 2019 addressed to:

   Todd F Wollenhaupt, 8416 McEwen Rd, Dayton, OH 45458

   Denise L. Wollenhaupt, 7337 Reims Dr, Apt A, Dayton, OH 45459

   Todd F Wollenhaupt and Denise L. Wollenhaupt, 8416 McEwen Road, Centerville, OH
   45458

   Montgomery County Treasurer, 451 W. Third Street , P.O. Box 972 , Dayton , OH 45422

   Fox Ridge Villas Homeowners' Association, c/o RCF Properties, 5797 Far Hills Ave #100,
   Dayton, OH 45429


                                                             /s/ Adam B. Hall




19-012835_BEW1
